Case 1:24-cv-01235-GBW       Document 21   Filed 11/19/24     Page 1 of 18 PageID #: 732




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  REALTEK SEMICONDUCTOR
  CORPORATION,

        Plaintiff,                          C.A. No. 24-1235-UNA

  v.
                                             PUBLIC VERSION FILED
  AVAGO TECHNOLOGIES                         NOVEMBER 19, 2024
  INTERNATIONAL SALES PTE. LTD,
  BROADCOM CORP., and BROADCOM
  INC.,

        Defendants.

 PLAINTIFF’S OPENING BRIEF IN SUPPORT OF ITS MOTION TO REMAND THE
   CASE TO THE COURT OF CHANCERY OF THE STATE OF DELAWARE OR
   ALTERNATIVELY TO SET A SCHEDULE FOR AN ANTISUIT INJUNCTION


                                           K&L GATES LLP
                                           Steven L. Caponi (No. 3484)
                                           Megan E. Hunt (No. 6569)
                                           600 King Street, Suite 901
                                           Wilmington, DE 19801
                                           Phone: (302) 416-7000
                                           steve.caponi@klgates.com
                                           megan.hunt@klgates.com

  Dated: November 11, 2024                 Counsel for Plaintiff
Case 1:24-cv-01235-GBW                        Document 21                   Filed 11/19/24             Page 2 of 18 PageID #: 733




                                                    TABLE OF CONTENTS

                                                                                                                                           Page

 I.     Introduction and Summary of the Argument ...........................................................................1

 II.    Factual Background .................................................................................................................3

 III.      Argument .............................................................................................................................6

           A.         Legal Standard .........................................................................................................6

           B.         Defendants’ Allegation that Realtek Sued them for Patent Infringement Is
                      Frivolous ..................................................................................................................7

           C.         Removal Was Improper Because Realtek’s Claims Do Not “Necessarily Raise”
                      Any Issue of U.S. Patent Law or Identify that Any Such Issue Is “Actually
                      Disputed.” ................................................................................................................8

                      1.         Defendants Cannot Satisfy the First Gunn Factor Because Realtek’s
                                 Claims Do Not “Necessarily Raise” an Issue of U.S. Patent Law. ..............9

                      2.         Essentiality Is Not “Actually Disputed” ....................................................11

           D.         If the Court Somehow Finds Subject Matter Jurisdiction, Then Realtek
                      Respectfully Asks the Court to Set an Expedited Briefing Schedule for an
                      Antisuit Injunction .................................................................................................12

 IV.       Conclusion .........................................................................................................................14




                                                                        i
Case 1:24-cv-01235-GBW                       Document 21                Filed 11/19/24              Page 3 of 18 PageID #: 734




                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

 Cases

 Carlyle Inv. Mgmt. LLC v. Moonmouth Co. SA,
    779 F.3d 214 (3d Cir. 2015).......................................................................................................6

 Caterpillar Inc. v. Williams,
    482 U.S. 386 (1987) ...............................................................................................................6, 7

 Consolidated World Housewares, Inc. v. Finkle,
    831 F.2d 261, 265 (Fed. Cir. 1987)..........................................................................................10

 Dow Chem. Co. v. Exxon Corp.,
   139 F.3d 1470 (Fed. Cir. 1998)................................................................................................10

 Exxon Mobil Corp. v. Allapattah Servs.,
    545 U.S. 546 (2005) ...................................................................................................................6

 Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Tr. for S.
    California,
    463 U.S. 1 (1983) .......................................................................................................................7

 Frederico v. Home Depot,
    507 F.3d 188 (3d Cir. 2007).......................................................................................................6

 Godo Kaisha IP Bridge 1 v. TCL Commc’n Tech. Holdings Ltd.,
    967 F.3d 1380 (Fed. Cir. 2020)................................................................................................10

 Gunn v. Minton,
    568 U.S. 251 (2013) ...................................................................................................................8

 Huawei Technologies, Co. Ltd. v. Samsung Electronics Co., Ltd.,
    340 F. Supp. 3d 934 (N.D. Cal. 2018) .....................................................................................10

 Huawei Techs., Co. v. Samsung Elecs. Co.,
    No. 3:16-cv-02797-WHO, 2018 WL 1784065 (C.D. Cal. Apr. 13, 2018) ..........................3, 13

 Intellisoft Ltd. v. Acer Am. Corp.,
     955 F.3d 927 (Fed Cir. 2020)........................................................................................... passim

 Microsoft Corp. v. Motorola, Inc.,
    871 F. Supp. 2d 1029 (W.D. Wash. 2012) .................................................................................3

 Realtek Semiconductor Corp. v. LSI Corp.,
    946 F. Supp.2d 998 (N.D. Cal. 2013) ......................................................................................12




                                                                      ii
Case 1:24-cv-01235-GBW                        Document 21                 Filed 11/19/24              Page 4 of 18 PageID #: 735




 Russo v. Ballard Medical Products,
    550 F.3d 1004 (Fed. Cir. 2008)................................................................................................10

 Telefonaktiebolaget LM Ericsson v. Lenovo (United States), Inc.,
     __ F.4th __, 2024 WL 4558664 (Fed. Cir. Oct. 24, 2024) ............................................3, 12, 13

 Uroplasty, Inc. v. Advanced Uroscience,
    239 F. 3d 1277 (Fed. Cir. 2001)...............................................................................................10

 Vaden v. Discover Bank,
    556 U.S. 49 (2009) .....................................................................................................................7

 Statutes

 28 U.S.C. § 1338(a) .................................................................................................................1, 3, 8

 28 U.S.C § 1441(a) ..........................................................................................................................6

 35 U.S.C. § 271 ................................................................................................................................9




                                                                        iii
Case 1:24-cv-01235-GBW          Document 21        Filed 11/19/24      Page 5 of 18 PageID #: 736




        I.      Introduction and Summary of the Argument

        Plaintiff Realtek Semiconductor Corp. (“Realtek”) respectfully asks the Court to remand

 this case to the Court of Chancery because the Court lacks subject matter jurisdiction. Indeed, this

 Court previously held—in cases involving the same License Agreement and the same parties—

 that it lacked subject matter jurisdiction. See Exs. A & B (reproducing dismissal order and

 transcript of arguments before, and ruling of, Judge Sleet).

        On October 31, 2024, Realtek filed its complaint in the Court of Chancery and moved for

 expedited proceedings. Realtek asserted claims for breach of contract, declaratory judgment, and

 tortious interference. All claims arise under state law.1 Realtek did not assert a claim under U.S.

 patent law or any other federal law. To the contrary, Realtek’s complaint centers on two issues:

 (1) whether defendants breached a July 2015 confidential Settlement and Patent License

 Agreement; and (2) whether defendants breached their contractual obligations to license specific

 patents to Realtek, on a reasonable and non-discriminatory (“RAND”) basis. The specific patents

 at issue are European Patents 1 903 733 and 1 770 912, which Defendants have identified (in

 proceedings before German courts) as essential to certain standards adopted by the Institute of

 Electrical and Electronics Engineers (“IEEE”). The are no U.S. Patents at issue.

        These are not federal causes of action, and they do not fall anywhere near the “special and

 small” category of state court actions that nonetheless “aris[e] under any Act of Congress related

 to patents.” Intellisoft Ltd. v. Acer Am. Corp., 955 F.3d 927, 932 (Fed Cir. 2020); 28 U.S.C.

 § 1338(a). In fact, as mentioned, this Court previously heard two actions involving some of the

 same parties, the same counsel for Defendants, and the same License Agreement. There, the Court


 1
  The parties agreed, in the License Agreement at issue, that “California commercial law” would
 govern their dispute. Complaint Ex. 1 at 10 § 8.07.




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Case 1:24-cv-01235-GBW           Document 21        Filed 11/19/24         Page 6 of 18 PageID #: 737




 held that it lacked subject-matter jurisdiction over essentially the same claims, in response to

 motions to dismiss filed by Defendants. It is frivolous and sanctionable for Defendants to now

 argue that there is federal jurisdiction over the same types of claims.

        Realtek’s state law claims do not assert or allege patent infringement and do not otherwise

 raise any substantial issue of patent or other federal law. Courts apply the four-factor test the

 Supreme Court articulated in Intellisoft: A state court claim only arises under federal law if

 Defendants prove that a federal issue is: (1) necessarily raised, (2) actually disputed,

 (3) substantial, and (4) capable of resolution in federal court without disrupting the federal-state

 balance approved by Congress. Id. at 932. Here, Realtek’s claims do not satisfy at least the first

 two factors. The only patents at issue in Realtek’s complaint are European patents, which, by

 definition, cannot “necessarily raise[]” any issue of U.S. patent law. Moreover, in Intellisoft, the

 Federal Circuit held that comparing a patent to a standard does not necessarily raise a question of

 patent law. Id. Finally, the alleged federal issue that Defendants identify—whether the two

 European patents are essential to the IEEE standards—is not “actually disputed” because, in

 Germany, Defendants contend that those two patents are essential to the standard. Their position

 before this Court is, at best, a complete reversal. Any one of these infirmities independently

 requires remand.

        Defendants alternatively argue that Realtek sued Defendants for patent infringement. A

 simple reading of the complaint demonstrates the falsity of that argument. Realtek therefore

 respectfully asks the Court to order expedited briefing on this motion, and to remand this case to

 the Court of Chancery on an expedited basis.

        Alternatively, if this Court determines that the “essentiality” of two European patents to an

 IEEE standard—being addressed in Germany—is a question of U.S. patent law which 28 U.S.C.




                                                   2
Case 1:24-cv-01235-GBW           Document 21        Filed 11/19/24      Page 7 of 18 PageID #: 738




 § 1338(a) requires a federal court to resolve, then protecting this Court’s jurisdiction requires the

 Court to enter an antisuit injunction prohibiting Defendants from enforcing any injunction the

 German courts might issue. See generally Telefonaktiebolaget LM Ericsson v. Lenovo (United

 States), Inc., __ F.4th __, 2024 WL 4558664, at *8-10 (Fed. Cir. Oct. 24, 2024) (reversing district

 court’s denial of an antisuit injunction and relying upon cases holding that an antisuit injunction is

 appropriate when—as here—the patent owner failed to offer a RAND license to essential patents

 before filing suit outside the United States). Realtek therefore respectfully requests, in the

 alternative, that the Court enter an expedited discovery and briefing schedule for Realtek’s motion

 for an immediate antisuit injunction.2

        II.     Factual Background

        On October 31, 2024, Realtek filed a complaint in the Court of Chancery. Realtek’s lawsuit

 arises from litigation Defendants filed in Germany against Realtek’s customer based on the

 customer’s use of Realtek’s chips. Complaint ¶ 10. There, Defendants allege that the ’733 and

 ’912 European patents are essential to one of the 802.3 standards (involving automotive Ethernet),

 and that Realtek’s customer,          is infringing those two patents because           uses Realtek

 products that implement the relevant 802.3 standard. Id. ¶¶ 7, 12, 192.

        Pursuant to the 2015 License Agreement, Realtek already has a license to Defendants’

 patents, meaning        has the right to utilize Realtek’s products that implement the relevant IEEE

 802.3 standard. Id. ¶ 148. Even if Realtek did not have such a license, Defendants were required




 2
   An antisuit injunction requires the Court to consider specific, identified factors that are similar
 to but distinct from the traditional Winter factors that govern preliminary injunctions. See, e.g.,
 Huawei Techs., Co. v. Samsung Elecs. Co., No. 3:16-cv-02797-WHO, 2018 WL 1784065, at *4
 (C.D. Cal. Apr. 13, 2018) (“[T]he Third Circuit explicitly replaced all four Winter factors with the
 three-part Gallo test.”); Microsoft Corp. v. Motorola, Inc., 871 F. Supp. 2d 1029, 1097 n.10 (W.D.
 Wash. 2012) (examining Third Circuit authority regarding antisuit injunctions).




                                                   3
Case 1:24-cv-01235-GBW           Document 21        Filed 11/19/24     Page 8 of 18 PageID #: 739




 to offer a license to Realtek on RAND terms, which Realtek requested long ago in an abundance

 of caution. Id. Defendants refused to offer a license to its patents essential to the 802.3 standards

 despite Realtek’s repeated requests, over multiple years. Id. ¶¶ 7, 12.

        Realtek’s complaint seeks to hold Defendants responsible for breaching their contractual

 obligations. Realtek asserts three counts related to Defendants’ breach of the Settlement and Patent

 License Agreement (Counts I-II, IV) and, alternatively, two counts (Counts III, V) related to the

 breach of Defendants’ contractual obligations to offer Realtek a license to the ’733 and ’912

 European patents on RAND terms. See Complaint ¶¶ 153-203.

        The German court will decide whether to enjoin the sale of                   on February 20,

 2025. Id. ¶ 6. Realtek must protect itself, its customer,      and U.S. manufacturing, against the

 potentially enormous consequences of such an injunction. Id. Realtek therefore filed, concurrently

 with the complaint, a Motion for Expedited Proceedings, and asked the Court of Chancery to

 conclude proceedings and enter an injunction by February 20, 2025. Specifically, Realtek seeks a

 ruling that it has a license to the European patents at issue and, alternatively, that Defendants

 cannot enforce any injunction entered in Germany because they failed to offer Realtek a RAND

 license.

        This is not the first dispute between the parties related to the scope of the License

 Agreement. Realtek previously tried to obtain judicial clarification regarding the scope of the

 License Agreement, but its prior efforts ended without a resolution on the merits. On August 8,

 2017, Realtek filed two complaints in this Court against the predecessor of Defendant Avago

 Technologies International Sales Pte. Ltd. and Defendants Broadcom Corp. Complaint ¶¶ 78-85;

 Appx. A-B.      Defendants, however, successfully argued that there was no subject matter




                                                   4
Case 1:24-cv-01235-GBW          Document 21        Filed 11/19/24      Page 9 of 18 PageID #: 740




 jurisdiction because the case was essentially a contractual licensing dispute.3         Incredibly,

 Defendants (and the same counsel for Defendants) are now taking the exact opposite position,

 arguing that Realtek’s same contractual claims that were successfully dismissed for lack of subject

 matter jurisdiction suddenly raise federal questions of patent law this time around.

        Defendants’ sudden change in position, and their frivolous arguments for removal, can only

 be interpreted as a deliberate delay tactic. When Realtek filed its action on October 31, 2024, it

 immediately contacted Defendants, including their counsel, seeking availability for the hearing on

 the motion to expedite. Despite repeated attempts, no one responded. Then, on Friday afternoon,

 November 9, 2024, Defendants filed a baseless Notice of Removal, stripping the Court of

 Chancery of jurisdiction.

        Immediately after the Notice of Removal was filed, on November 9, 2024, Realtek sent a

 detailed letter to Defendants’ counsel explaining that the removal was baseless and clearly

 frivolous, and requesting a stipulation to remand by 3:00 pm ET on Monday, November 11, 2024.

 Realtek asked Defendants to meet and confer in hopes of resolving this dispute without wasting

 judicial resources with unnecessary motions practice.        Defendants responded by letter, on

 November 11, 2024, and they simply repeated their frivolous arguments. They also offered

 incorrect arguments on the merits, but those arguments are irrelevant to this Court’s jurisdiction.




 3
   In the prior litigation, Defendants successfully argued that the U.S. District Court lacks subject
 matter jurisdiction over breach of contract, tortious interference, and declaratory judgment claims
 arising from the same License Agreement at issue now. See Ex. A at 3-4. This Court accepted
 those arguments and dismissed all claims for lack of subject matter jurisdiction. See Ex. B at 12-
 13. Indeed, Defendants sought sanctions in that case, and Judge Sleet stated: “[I]t’s an action for
 contract, for breach of contract. That’s what it is. You plead three California state law claims.
 This is not a case that’s dependent upon a substantial question of patent law.” See Ex. A at 12-13.
 Indeed, Judge Sleet suggested that alleging that a federal question exists in these circumstances
 was so unfounded that lawyers asserting such a position would need to “dial up [their] malpractice
 carrier.” Id. at 13.




                                                  5
Case 1:24-cv-01235-GBW           Document 21         Filed 11/19/24       Page 10 of 18 PageID #: 741




         III.    Argument

                 A. Legal Standard

         Section 1441 provides that “any civil action brought in a State court of which the district

 courts of the United States have original jurisdiction, may be removed by the defendant or the

 defendants, to the district court of the United States…” 28 U.S.C § 1441(a). “When a plaintiff

 brings only a state law claim, as here, the district court will have original jurisdiction ‘over [the]

 state law claim ... if a federal issue is: (1) necessarily raised, (2) actually disputed, (3) substantial,

 and (4) capable of resolution in federal court without disrupting the federal-state balance approved

 by Congress.’” Intellisoft, 955 F.3d at 932 (quoting Gunn v. Minton, 568 U.S. 251, 258 (2013)).

 “The Supreme Court has explained that only a ‘special and small category’ of cases would meet

 all four requirements.” Id. (quoting Gunn, 568 U.S. at 258).

         Federal courts are “courts of limited jurisdiction” in that “[t]hey possess only that power

 authorized by Constitution and statute.” Exxon Mobil Corp. v. Allapattah Servs., 545 U.S. 546,

 552 (2005). “The federal removal statute” is therefore “strictly construed, requiring remand if any

 doubt exists over whether removal was proper.” Carlyle Inv. Mgmt. LLC v. Moonmouth Co. SA,

 779 F.3d 214, 218 (3d Cir. 2015). Critically, “the party asserting federal jurisdiction in a removal

 case bears the burden of showing, at all stages of the litigation, that the case is properly before the

 federal court.” Frederico v. Home Depot, 507 F.3d 188, 193 (3d Cir. 2007). Defendants cannot

 satisfy their burden here.

         Under the “well-pleaded complaint rule,” “federal jurisdiction exists only when a federal

 question is presented on the face of the plaintiff’s properly pleaded complaint.” Caterpillar Inc.

 v. Williams, 482 U.S. 386, 392 (1987) (quotations omitted). “The rule makes the plaintiff the

 master of the claim” because, in drafting the complaint, the plaintiff may choose to “avoid federal




                                                     6
Case 1:24-cv-01235-GBW          Document 21         Filed 11/19/24      Page 11 of 18 PageID #: 742




 jurisdiction by exclusive reliance on state law.” Id. It is a “powerful doctrine” that “severely limits

 the number of cases in which state law ‘creates the cause of action’ that may be initiated in or

 removed to federal district court...” Franchise Tax Bd. of State of Cal. v. Constr. Laborers

 Vacation Tr. for S. California, 463 U.S. 1, 9-10 (1983). “Federal jurisdiction cannot be predicated

 on an actual or anticipated defense” based in federal law, whether anticipated by the plaintiff in

 the complaint, or asserted by the defendants in the notice of removal. Vaden v. Discover Bank,

 556 U.S. 49, 60 (2009).

                B. Defendants’ Allegation that Realtek Sued them for Patent Infringement Is
                   Frivolous

        Defendants argue Realtek sued them in Court of Chancery for patent infringement. Notice

 of Removal at 2-3. That argument is frivolous for two reasons. First, Realtek’s Complaint

 identifies no U.S. patent that Defendants allegedly infringed and identifies no products that

 allegedly infringe any patent. Defendants do not, and cannot, cite any allegation to the contrary.

        Second, Realtek pleads that Defendants have a license to Realtek’s patents, which is the

 opposite of infringement. Defendants cite paragraphs 92, 93, 97, 175, and 180 of the Complaint.

 Id. But there, Realtek pleaded that Defendants have been using Realtek’s technology under

 license.   Complaint ¶¶ 91-94.       Specifically, Realtek pleaded that the International Trade

 Commission determined that Defendants are using Realtek’s technology under license. See

 Complaint ¶¶ 92-94. Realtek also explained (in ¶¶ 97 and 175 of the Complaint) that its

 interpretation of the License Agreement must be correct because the contrary view would lead to

 an absurd result—that Realtek and Defendants do not enjoy the full scope of their license. Thus,

 Realtek seeks a declaration that Broadcom Corp. and Broadcom, Inc. (“BCI”) are licensed under

 the License Agreement, or alternatively, if they are not licensed, that the terms of the License

 Agreement do not apply asymmetrically—giving Broadcom Corp. and BCI a license to Realtek’s




                                                   7
Case 1:24-cv-01235-GBW          Document 21        Filed 11/19/24      Page 12 of 18 PageID #: 743




 patents but not giving Realtek a license to their patents. Id. ¶ 180. As Realtek points out,

 Defendants cannot have it both ways. This is undeniably an issue of contract interpretation, not

 an allegation of patent infringement.

        The Court will search in vain for any allegation of patent infringement. The complaint

 identifies no Realtek patent allegedly infringed and no allegedly infringing product. To the

 contrary, it pleads that Broadcom’s Corp.’s and BCI’s products are licensed and seeks an

 interpretation of the License Agreement. The argument that Realtek pleaded a claim for patent

 infringement is frivolous.

                C. Removal Was Improper Because Realtek’s Claims Do Not “Necessarily
                   Raise” Any Issue of U.S. Patent Law or Identify that Any Such Issue Is
                   “Actually Disputed.”

        Alternatively, Defendants argue that Realtek’s claims are somehow within the “special and

 small” category of state court actions that “aris[e] under any Act of Congress related to patents…”

 Intellisoft, 955 F.3d at 932; 28 U.S.C. § 1338(a). That argument, too, is frivolous. There is federal

 question jurisdiction over a state law claim related to patents only if an issue of U.S. patent law is

 at least (1) “necessarily raised” and (2) “actually disputed.” Gunn, 568 U.S. at 258. Defendants’

 argument that two European patents “necessarily raise” a substantial question of U.S. patent law

 under Gunn factor (1) is baseless. In addition, even if U.S. patents were at issue, Federal Circuit

 authority directly rejects Defendants’ argument that comparing claims of a patent to a standard

 necessarily raises a question of U.S. patent law. See Intellisoft, 955 F.3d at 932. Defendants’

 arguments under Gunn factor (2) are worse. They rest upon a misrepresentation of the assertions

 Defendants have made to the German courts. Defendants are speaking out of both sides of their

 mouths.




                                                   8
Case 1:24-cv-01235-GBW           Document 21       Filed 11/19/24       Page 13 of 18 PageID #: 744




                        1. Defendants Cannot Satisfy the First Gunn Factor Because Realtek’s
                           Claims Do Not “Necessarily Raise” an Issue of U.S. Patent Law.

        Defendants incorrectly argue that any claim for breach of RAND obligations necessarily

 raises U.S. patent law because “[d]etermination of whether any patent claim is standard-essential

 requires an analysis of whether the patent ‘claim elements read onto mandatory portions of a

 standard that standard-compliant devices must incorporate.’” Notice of Removal at 2 (citing Godo

 Kaisha IP Bridge 1 v. TCL Commc’n Tech. Holdings Ltd., 967 F.3d 1380, 1385 (Fed. Cir. 2020)).

 And to make that determination, a “qualified expert” must examine the patents and compare them

 to the standard, which is “akin to an infringement analysis.” Id. (citations omitted). That argument

 is frivolous for two reasons.

        First, Defendants ignore the obvious—that the patents at issue are two European Patents

 asserted against Realtek’s customer in litigation in Germany. Whether the ’733 and ’912 European

 Patents are essential to an international standard cannot, by definition, “necessarily raise[]” a

 question of U.S. patent law, as required for federal jurisdiction. Intellisoft, 955 F.3d at 932.

        Second, even if the patents at issue were U.S. patents (which they are not), the Federal

 Circuit has explicitly held that comparing a patent’s claims to a standard does not “necessarily

 raise” any question of U.S. patent law. In Intellisoft, Ltd. v. Acer America Corp., 955 F.3d 927

 (Fed. Cir. 2020), the Court held that comparing the “’713 patent family, and ACPI standard” does

 not require “construction of the patent claims or proof that [anyone’s] products ‘infringed’ the ’713

 patent family under 35 U.S.C. § 271.” Id. at 932. Thus, the court held comparing a patent to a

 standard does not necessarily raise a question of U.S. patent law and removal jurisdiction was

 improper. Id.

        Moreover, the Federal Circuit has consistently held in a variety of different contexts that

 breach of contract claims, such as Realtek’s, do not necessarily raise issues of patent law just




                                                   9
Case 1:24-cv-01235-GBW          Document 21        Filed 11/19/24      Page 14 of 18 PageID #: 745




 because a patent may be used as evidence of the breach. See, e.g., Uroplasty, Inc. v. Advanced

 Uroscience, 239 F. 3d 1277, 1279-80 (Fed. Cir. 2001) (“The ’406 patent may be evidence in

 support of Uroplasty’s allegations [of, inter alia, breach of contract], but the mere presence of the

 patent does not create a substantial issue of patent law.”); Dow Chem. Co. v. Exxon Corp., 139

 F.3d 1470, 1478 (Fed. Cir. 1998) (“[S]tate law governs the maintenance of orderly contractual

 relations and this function is not preempted merely because patents and patent issues are presented

 in the substance of those contracts.”); Consolidated World Housewares, Inc. v. Finkle, 831 F.2d

 261, 265 (Fed. Cir. 1987) (“That a contract action may involve a determination of the true inventor

 does not convert that action into one ‘arising under’ the patent laws.”); see also Russo v. Ballard

 Medical Products, 550 F.3d 1004, 1010 (Fed. Cir. 2008) (“the fact that Ballard used Mr. Russo’s

 ideas to secure patents is surely relevant evidence suggesting a breach [of contract] occurred, but

 it does not implicate any question of federal patent law.”).

        The two cases Defendants cite are inapposite. There, the courts did not hold that a dispute

 about whether a patent is standard essential raises a federal question. Instead, those courts

 possessed subject matter jurisdiction because the plaintiff actually alleged patent infringement. In

 Godo Kaisha IP Bridge 1 v. TCL Communication Technology Holdings Ltd., 967 F.3d 1380 (Fed

 Cir. 2020), the court explained: “This appeal arises from a patent infringement action filed in the

 United States District Court for the District of Delaware.” Id. at 1381 (emphasis added). Likewise,

 in Huawei Technologies, Co. Ltd. v. Samsung Electronics Co., Ltd., 340 F. Supp. 3d 934 (N.D.

 Cal. 2018), plaintiff Huawei “assert[ed] claims for . . . patent infringement” of 11 patents. Id. at

 942. Here, there are no claims for patent infringement, and as discussed below, Defendants’

 suggestion to the contrary is frivolous.




                                                  10
Case 1:24-cv-01235-GBW          Document 21         Filed 11/19/24      Page 15 of 18 PageID #: 746




        Moreover, Defendants misrepresent Godo Kaisha. There, the Federal Circuit explained

 that the determination of whether a patent is essential to a standard is “more akin to an infringement

 analysis . . . than to a claim construction analysis.” 967 F.3d at 1385. The Godo Kaisha court

 made that statement to emphasize that the issue is “a fact question” in which the fact-finder

 determines “whether the claim elements read onto mandatory portions of a standard.” Id. As

 Intellisoft explains, that factual inquiry is neither a claim construction exercise nor an infringement

 exercise and therefore does not “necessarily raise” any question of U.S. patent law. 955 F.3d at

 932. Because Defendants’ arguments regarding the first Gunn factor are frivolous, there is no

 subject matter jurisdiction.

                        2. Essentiality Is Not “Actually Disputed”

        Even if Defendants could satisfy the first Gunn factor, they cannot satisfy the second Gunn

 factor. That factor requires Defendants to show that essentiality is “actually disputed.” In

 suggesting that Defendants are disputing essentiality, Defendants misrepresent the positions that

 they have taken in the German litigation. There, Defendants expressly represented that the two

 European patents at issue are essential to the relevant 802.3 standards:

        Broadcom created the first-ever automotive Ethernet standard, BroadR-Reach, and
        produced the first ever BroadR-Reach Ethernet PHY chip in 2011. In fact, the name
        “BroadR-Reach” is a play on words with the name “Broadcom.” BroadR-Reach
        was later adopted by IEEE (with some changes) as 802.3bw (100Base-T1). This is
        the standard we are talking about here.

 Ex. C. at 40 ¶ 2 (reproducing Defendants’ arguments regarding the ’733 European patent)

 (emphasis added).4 Defendants further stated:

        Broadcom or the plaintiff made a significant contribution to the development of
        Automotive Ethernet with the invention on which the patent in suit is based.

 4
  Exhibit C is a machine translation. Realtek’s counsel has commissioned a certified translation
 and will submit it to the Court, if needed, as soon as it is available.




                                                   11
Case 1:24-cv-01235-GBW          Document 21       Filed 11/19/24      Page 16 of 18 PageID #: 747




        Accordingly, the patent-in-suit claims an important part of the standard with
        technical advantages that have led to the introduction and acceptance of the
        standard over other technologies.

 Id. at 43 ¶ 9 (emphasis added).

        Likewise, Defendants’ complaint for infringement regarding the European ’912 patent (Ex.

 D) explains that Defendants’ infringement allegation is based on use of the “802.3bp (1000Base-

 T) standard.” Ex. D at 34 ¶ 70; see also id. at 27 ¶ 59 (“[T]here are a number of relevant Ethernet

 communication connections between different hardware components of the [redacted]

 computer.”); id. at 29 ¶ 65 (“The 1000Base-T1 interface was specifically designed for use in

 Vehicles”).

        After receiving Defendants’ Notice of Removal, Realtek asked Defendants if they were

 abandoning the positions they took in the German litigation. Defendants did not respond to that

 query. Thus, Defendants have not repudiated their position that these patents are essential to the

 relevant 802.3 standards. Defendants do not dispute that their European patents are essential to

 the 802.3 standards, which means the second Gunn factor is not satisfied, and this Court lacks

 subject matter jurisdiction. Id. at 932.5

                D. If the Court Somehow Finds Subject Matter Jurisdiction, Then Realtek
                   Respectfully Asks the Court to Set an Expedited Briefing Schedule for an
                   Antisuit Injunction

        If this Court determines that Realtek’s claims necessarily raise any issue of U.S. patent

 laws, that is actually disputed, then protecting this Court’s jurisdiction to resolve those issues


 5
   In the German litigation,        may dispute whether these two European patents are essential to
 the Standard, but        is not a party to this case, and Defendants are bound by their positions in
 that litigation. Defendants contend that their European patents are essential to the identified IEEE
 802.3 standards. Defendants have committed to licensing essential patents on RAND terms but
 have refused to do so despite Realtek’s repeated requests. That decision precludes an action for
 injunctive relief.




                                                 12
Case 1:24-cv-01235-GBW          Document 21        Filed 11/19/24      Page 17 of 18 PageID #: 748




 requires the Court immediately to enjoin Defendants’ enforcement of any injunction the German

 courts might issue. See generally Telefonaktiebolaget LM Ericsson v. Lenovo (United States),

 Inc., __ F.4th __, 2024 WL 4558664, at *8-10 (Fed. Cir. Oct. 24, 2024) (reversing district court’s

 denial of an antisuit injunction and citing numerous cases holding that an antisuit injunction is

 appropriate when a party violates its RAND obligations).

        Here, the evidence will show that in 2014, Realtek asked Defendants for a license to all

 patents essential to the 802.3 standards. Realtek will show that it reiterated that request for more

 than two years, but Defendants only offered terms that undeniably are inconsistent with their

 RAND obligations. The Federal Circuit recently held that a party that makes a RAND commitment

 “must have complied with the commitment’s obligation to negotiate in good faith over a license

 to its SEPs before it pursues injunctive relief based on those SEPs.” Id. at ___, 2024 WL 4558664,

 at *9. Here, the evidence will show that Defendants did not negotiate in good faith with Realtek

 before seeking injunctive relief against Realtek’s products. That failure is especially egregious

 because, as Realtek’s Complaint explains, Defendants’ affiliates did the same thing to Realtek

 years ago. Their misconduct led to an antisuit injunction and nearly $4 million in damages

 awarded to Realtek.      Complaint ¶ 9.      The Federal Circuit cited that prior case, Realtek

 Semiconductor Corp. v. LSI Corp., 946 F. Supp.2d 998, 1008 (N.D. Cal. 2013) with approval in

 its recent opinion in Ericsson, __ F.4th at __, 2024 WL 4558664, at *9. It cited numerous other

 cases, both in the U.S. and abroad, granting such injunctions. Accordingly, if Defendants are

 correct that this Court must determine essentiality, and essentiality necessarily raises a substantial

 question under U.S. patent law, then this Court—as the U.S. tribunal—must decide that question

 and must protect against actions by foreign tribunals that prevent this Court from deciding the




                                                  13
Case 1:24-cv-01235-GBW         Document 21       Filed 11/19/24      Page 18 of 18 PageID #: 749




 issue. In such cases, an antisuit injunction is justified and required. See, e.g., Huawei, 2018 WL

 1784065, at *8-10.

        IV.     Conclusion

        For the reasons set forth above, Realtek respectfully requests that the Court remand this

 case to the Court of Chancery. Alternatively, Realtek respectfully asks the Court to set an

 expedited discovery and briefing schedule for an antisuit injunction, as set forth in attached

 alternative proposed order.

  Dated: November 11, 2024                         K&L GATES LLP

                                                   /s/ Steven L. Caponi
                                                   Steven L. Caponi (No. 3484)
                                                   Megan E. Hunt (No. 6569)
                                                   600 King Street, Suite 901
                                                   Wilmington, DE 19801
                                                   Phone: (302) 416-7000
                                                   steve.caponi@klgates.com
                                                   megan.hunt@klgates.com

                                                   Counsel for Plaintiff




                                                14
